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                     UNITED STATES DISTRICT COURT FOR THE
                       SOUTHERN DISTRICT OF MISSISSIPPI
                               EASTERN DIVISION

UNITED STATES OF AMERICA

v.                                                  CRIMINAL NO. 4:09CR5-TSL-JCS

WILLIAM BROWN CALDWELL


                  ORDER GRANTING MOTION TO DISMISS COUNTS

       This cause having come on for consideration on the motion of the government to dismiss

Counts 4,5,6,7,8 and 9 of this Indictment as to the defendant William Brown Caldwell only, as

the defendant William Brown Caldwell entered a plea of guilty to Count 1 of the Indictment in

this matter and has been sentenced by the Court.

       THEREFORE, the Court is of the opinion and so finds that the government’s motion to

dismiss Counts 4,5,6,7,8 and 9 of this Indictment, as to the defendant William Brown Caldwell

only, is well taken and should be granted.

       IT IS, THEREFORE, ORDERED AND ADJUDGED that Counts 4,5,6,7, 8 and 9 of this

Indictment, as to the defendant William Brown Caldwell, are hereby dismissed without

prejudice.

       SO ORDERED, this the 8th of February, 2010.



                                               /s/Tom S. Lee
                                               SENIOR U.S. DISTRICT COURT JUDGE
